        Case 1:22-cv-04940-RPK-VMS Document 6 Filed 08/22/22 Page 1 of 3 PageID #: 34

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                     Eastern District
                                                   __________         of of
                                                               District  New  York
                                                                            __________

                     MIA SANTA CRUZ,                                )
                                                                    )
                                                                    )
                                                                    )
                            Plaintiff(s)                            )
                                                                           Civil Action No. 22-cv-4940 RPK-VMS
                                                                    )
                                v.
                                                                    )
 PECONIC LANDING AT SOUTHHOLD, INC, DIANE                           )
      RADIGAN, and PATRICIA LUTZKY,                                 )
                                                                    )
                                                                    )
                           Defendant(s)                             )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) See Attached Rider




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Clifford Tucker, Esq.
                                           Sacco & Fillas, LLP
                                           31-19 Newtown Avenue, Seventh Floor
                                           Astoria, New York 11102
                                           Tel: 718-269-2243
                                           Email: CTucker@SaccoFillas.com

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                             BRENNA B. MAHONEY
                                                                             CLERK OF COURT

                                                                              s/Kimberly Davis
Date: 8/22/2022
                                                                                         Signature of Clerk or Deputy Clerk
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 Civil Action No. 22-cv-4940

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
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                 RIDER TO PROPOSED SUMMONS
    TO:
               DIANE RADIGAN
               100 Pasture Lane
               Mattituck, New York 11952

    TO:
                PATRICIA LUTZKY
                5 Corbett Court
                East Quogue, New York 11942

     To:
                PECONIC LANDING AT SOUTHHOLD, INC
                1500 Brecknock Road,
                Greenport, New York 11944

     To:
